8:09-cr-00457-RFR-FG3   Doc # 1488   Filed: 08/17/15    Page 1 of 1 - Page ID # 11064



            IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,     )
                               )
                Plaintiff,     )                  8:09CR457
                               )
           v.                  )
                               )
 SARA JARRETT,                 )                       ORDER
                               )
                Defendants.    )
 ______________________________)


            This matter is before the Court on plaintiff’s motion

 to submit response (Filing No. 1487).          The Court finds the motion

 should be granted.     Accordingly,

            IT IS ORDERED that the motion is granted; plaintiff is

 granted authority to respond to defendant’s motion for relief

 under Rule 60(b) on or before September 7, 2015.

            DATED this 17th day of August, 2015.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
